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                                   IN THE UNITED STATES DISTRICT COURT
                                    FOR THE EASTERN DISTRICT OF TEXAS
                                            SHERMAN DIVISION

   JOHN AND CINDY SKOGEN,                                (
                      Plaintiffs,                        (
                                                         (
   v.                                                    (
                                     (                                    Case No. 4:19-cv-585
   RF.J AUTO GROUP, INC. EMPLOYEE (
   BENEFIT PLAN, RFJ AUTO GROUP, (
   INC.,   GROUP     &     PENSION (
   ADMINISTRATORS, INC., and ELAP (
   SERVICES, LLC,                    (
                         Defendants. (

                                            JOINT STIPULATIONS

 TO THE HONORABLE JUDGE OF SAID COURT:

            COME NOW, Plaintiffs JOHN AND CINDY SKOGEN (co llectively, "P laintiffs") and

 Defendants RFJ AUTO GROUP , INC. EMPLOYEE BENEFIT PLAN ("The Plan") RFJ AUTO

 GROUP, INC. ("RFJ"), GROUP & PENSION ADMINISTRATORS , INC. ("GPA"), and ELAP

 SERV1CES , LLC (" ELAP") (col lectively, "Defendants") to make and file the following Joint

 Stipulations.         Plaintiffs and Defendants hereby stipulate and agree to the fo ll owing material

 statements of fact:

            1.      Defendants have conferred with one another and conducted a full and thorough
                    internal review of their respecti ve claim and appeals files , if any, related to Plaintiffs'
                    claim for ERISA benefits described in their Original Complaint. Defendants stipu late
                    a nd agree that th ey have had adequate time to conduct this revi ew and currently
                    possess adequate information to make the stipulations contained herein.

            2.      After that review, Defendants stipulate and agree that ELAP did not have any
                    involvement in the claims handling or administration of the claims of Jo lrn and Cindy
                    Skogen described more ful ly in their Original Complaint in thi s Lawsuit. ELAP did
                    not make any claim decisions , appeal decisions, or determinations of any kind on
                    those c laims for healthcare benefits by and on behalf of John and Cindy Skogen.

            3.      All c laims decisions, appeal decisions, and determinations for the claims of Jolm
                    Skogen were mad e by RFJ , the designated Plan Ad ministrator, or GPA, the
                    designated Claims Administrator, or by some combination of tho se two entities .

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            4.       Defendants und erstand, acknowledge, and intend that Plaintiffs rely upon these Join!
                     Stipulations in dismissing ELAP from the Lawsu it. Both RF.! and GPA specificall y
                     and express ly waive the right to argue or attempt to prove that ELAP made any of'
                     the clairn(s) and appeal(s) decisions described by the Plaintiffs ' Original Comploinl ,
                     and express ly assume any liability for the acts, if any, omissions, ifany, or intentional
                     wrongful conduct, if any, of ELAP that may later be discovered in the co urse of this
                     Lawsuit.




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 AGREED AND APPROVED:




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                                                        PENSION ADMINISTRATORS, INC.
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                                          CERTIFICATE OF SERVI CE


           l hereby certify th at on thi s ~ day of October, 2019. a true and correct copy of the
  above and foregoing instrument was served upon all counse l of reco rd at or near the time of filing
  wit h the Court' s ECF system in accordance wi th the Federal Rules of Civi l Procedure.

                                                                  Isl Be11iami11 C. Yelverton
                                                                        Benjami n C. Yelverton




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